
By order dated July 25, 2019, the Court granted a petition seeking transfer of jurisdiction from the Court of Appeals. After further review, including consideration of the points presented by counsel at oral argument and discussion among the Justices in conference after the oral argument, the Court has determined that it should not assume jurisdiction over this appeal and that the Court of Appeals opinion reported as Gasbi, LLC v. Sanders , 120 N.E.3d 614 (Ind. Ct. App. 2019), should be reinstated as Court of Appeals precedent.
Accordingly, the order granting transfer is VACATED and transfer is hereby DENIED. Pursuant to Appellate Rule 58(B), this appeal is at an end.
All Justices concur except David and Massa, JJ., who dissent to the denial of transfer.
